         Case:18-01283-EAG7 Doc#:9 Filed:03/26/18 Entered:03/26/18 14:01:45                          Desc:
                          Interrogatory/Telephone Conf - Page 1 of 1
                              IN THE UNITED STATES BANKRUPTCY COURT
                                          District of Puerto Rico



IN RE:                                                     Case No. 18−01283 EAG

ARIEL MERCADO ROSADO
                                                           Chapter 7

xxx−xx−5606

                                                           FILED & ENTERED ON 3/26/18
                        Debtor(s)



                                                       ORDER

The motion requesting that the §341 meeting of creditors be held by written interrogatory or telephone conference
(docket entry #8) is GRANTED, without prejudice to the trustee's subsequent request for an in personam meeting.

IT IS SO ORDERED.

In Ponce, Puerto Rico, this Monday, March 26, 2018 .
